The foregoing opinion contains the following statements:
"If the deceased left the generating plant at the time in question and went to the pump and pit merely as an observer and to satisfy his curiosity, then he was not reasonably fulfilling any of the duties of his employment, or doing something incidental to it, and under Murdoch v. Humes  Swanstrom,51 Idaho 459, 6 P.2d 472; Walker v. Hyde, 43 Idaho 625,253 P. 1104; Zeier v. Boise Transfer Co., 43 Idaho 549,254 P. 209, claimant would not be entitled to recover. . . . ."
"What was the object or purpose of Mr. MacKenzie going to the pump and pit at the time when he met with the accident? Why did he go there? If he went there merely to satisfy his own curiosity the claimant cannot recover."
By the foregoing statements the opinion shackles a laborer closer to his task than is intended by the Workmen's Compensation Law. The evidence shows the pit, into which MacKenzie fell, was on the premises of his employer and immediately adjacent to the generating plant where he was employed. This court said in Burchett v. Anaconda Copper Min.Co., 48 Idaho 524, 530, 283 P. 515, 517:
"By the great weight of authority injuries sustained by an employee upon premises owned or controlled by his employer, are generally deemed to have arisen out of and in the course of the employment." *Page 493 
In Zeier v. Boise Transfer Co., 43 Idaho 549, 554,254 P. 209, 210, we quoted from 1 Honnold on Workmen's Compensation, p. 346, as follows:
"It is essential to the right to compensation that the injury shall have been received in the course of the workman's employment; that it shall have been received while he was doing some act reasonably incidental to his work. An accident or injury is so received where it occurs while he is doing what a man in like employment may reasonably do within a time during which he is so employed, and at a place where he may reasonably be during that time 'Course of employment' includes acts in which the employer has acquiesced, though they are not done in a strict performance of the employee's duties. An employee is not, like a part of a machine operated by him, fixed to precisely the mechanical movements he must perform in order to discharge his industrial function. He may do whatever a human being may reasonably do while in the performance of his duty without such acts placing him outside of the course of his employment."
We again quoted that text in Murdoch v. Humes  Swanstrom,51 Idaho 459, 464, 6 P.2d 472, 473, and further said in51 Idaho 459, 466, 6 P.2d 472, 474:
"An accident arises 'in the course of the employment' if it occurs while the employee is doing what a man so employed may reasonably do within a time during which he is employed, and at a place where he may reasonably be during that time."
In the foregoing opinion it is said:
"The board failed to make a specific finding as to this most important fact, which it should have done, as to why MacKenzie went to the pit when he was injured, if the evidence is sufficient upon which such a finding can be made, and from the record we believe the evidence is sufficient to justify such a finding either one way or the other."
Instead of making the finding of fact, which the Industrial Accident Board failed to make, and which this court believes the evidence before it is sufficient to justify, the case is, by this decision, at the expense of the litigants and the *Page 494 
public, remanded to the board to have the finding made and to again take its course through the courts. This emphasizes the viciousness of our former decisions holding findings of fact of an administrative board to be conclusive and limiting review of its decisions to questions of law. (Larson v. Callahan CanningCo., 53 Idaho 746, 751, 27 P.2d 967, 969.)